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                      UNITED STATES DISTRICT COURT

              FOR THE NORTHERN DISTRICT OF CALIFORNIA

                              OAKLAND DIVISION




EPIC GAMES, INC.,                    )   Case No. 4:20-cv-05640-YGR-TSH
                                     )
       Plaintiff, Counter-defendant, )   WRITTEN DIRECT TESTIMONY
                                     )   OF NED S. BARNES, CPA
              v.                     )
                                     )   The Honorable Yvonne Gonzalez Rogers
APPLE INC.,                          )
                                     )   Trial: May 3, 2021
        Defendant, Counterclaimant. )
                                     )   Ex. Expert 2




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        1.     I, Ned Barnes, am a Managing Director with the Berkeley Research Group, a
financial and economic consulting firm. I am a Certified Public Accountant and a Certified
Fraud Examiner. I have over 25 years of experience as a forensic accountant and an economic
consultant analyzing accounting, finance, damages, and valuation issues. As part of my
professional practice, I am regularly asked to review and analyze financial statement data for a
variety of purposes, including financial analysis related to alleged antitrust issues. I understand
that this document provides testimony for use in this litigation as if I were in Court providing
testimony in person, and that my testimony is given under penalty of perjury.

         2.      I was retained by counsel for Epic Games to research and calculate the App
Store’s operating margin and operating margin percentage, which in general measure
profitability by subtracting costs from revenues. In my expert report dated February 16, 2021,
using Apple testimony and financial information available to me at that time, I calculated the
App Store’s operating margin percentage to be 79.6% for each of FY2019 and FY2018. I
understand that the day before my expert report was due, Apple produced additional documents
that I obtained and reviewed after submitting my report. These documents show that Apple
calculated its own operating margin percentage for the App Store to be 77.8% for FY2019 and
74.9% for FY2018. These calculations, which were prepared by Apple’s Corporate Financial
Planning and Analysis (“FP&A”) group and produced from the files of Apple CEO Tim Cook,
are consistent with and confirm the reasonableness of the calculations presented in my expert
report. They also refute criticisms of my report proffered by certain Apple expert witnesses that
it is not possible to calculate reliably or usefully the operating margins of the App Store. (See
pp. 2-12.)

       3.       I was also asked to research and calculate the operating margins for other online
marketplaces selected according to parameters provided to me by Dr. David Evans, one of Epic’s
experts in antitrust economics. Dr. Evans defined an online marketplace as an e-commerce
platform on which sellers/merchants connect with buyers/consumers in transactions for the sale
of goods. Dr. Evans asked me to identify firms that are principally in the business of operating
online marketplaces or that maintain discrete operating segments that generate significant
revenues from operating online marketplaces. Applying those parameters to my independent
research of publicly available information, I identified five online marketplace firms or firms
with business segments reflecting online marketplace operations that publicly report sufficiently
separate financial results for those operations and that have had profitable online marketplace
operations in at least one of the last five years. (See pp. 12-13.) I calculated the operating
margin percentages of these online marketplaces as follows:




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        14.     After I submitted my expert report on February 16, 2021, I was made aware of
additional Apple business documents that had been produced by Apple on February 15, 2021.
Epic’s counsel has informed me that Apple produced more than 260,000 documents on
February 15 alone, and that none of those documents would have been available for review until
after they had been processed. In particular, after receiving Apple’s expert’s rebuttal reports, I
reviewed three documents prepared by Apple’s Corporate FP&A group that contain profitability
analyses specific to the App Store. This was materially new information because Apple and its
managers had stated that Apple does not maintain P&L statements for the App Store. 1 After I

    1
       Dec. 15, 2020 Discovery Hearing (ECF No. 212-2) at 67-68 (Apple “does not maintain
separate numbers for the App Store”; “costs are not allocated or maintained by business unit . . .
[t]here aren’t App Store costs”); Apple’s Response to Epic’s Interrogatory No. 10 (“Apple does
not, in the ordinary course of business, maintain profit and loss ledgers for the App Store”);
Cook Dep. 163:20-23, 245:16-18; Schiller Dep. 358:5-7; Fischer Dep. 155:6-10; Rollins
Dep. 83:16-23.


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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct and that I executed this written direct testimony on April 20, 2021, in Sterling,
Virginia.

WORD COUNT: 3,472




                                                     Ned S. Barnes




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